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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                      :
UNITED STATES,                                        :          CASE NO. 1:15-cr-00045
                                                      :
                  Plaintiff,                          :
                                                      :
v.                                                    :          OPINION & ORDER
                                                      :          [Resolving Doc. 24]
SEAN HOUSTON,                                         :
                                                      :
                  Defendant.                          :
                                                      :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

         On February 3, 2015, Defendant Sean Houston was indicted on one count of conspiracy to

defraud the government in violation of 18 U.S.C. § 286, and thirty-two counts of filing false,

fictitious, or fraudulent tax returns in violation of 18 U.S.C. §§ 287 and 2.1/ Defendant Houston now

moves to dismiss the indictment on the grounds that “the government’s unwarranted and prejudicial

delay in filing charges against [Defendant] Houston has violated his right to due process under the

Fifth Amendment of the United States Constitution.”2/

         The Court held an evidentiary hearing on this motion on April 3, 2015.3/ At the conclusion

of that hearing the Court DENIED the motion and summarized its reasoning.4/ This opinion further

explains the Court’s decision.

                                                   I. Background



         1/
          Doc. 1.
         2/
          Doc. 24 at 1. The United States opposes. Doc. 30.
         3/
           Throughout this opinion, citations to the draft transcript of the April 3, 2015, hearing will be cited as “Hr’g
Tr. at [page]:[line].”
         4/
          Hr’g Tr. at 67:10–67:22.

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        Defendant Houston operated a tax preparation business in Cleveland, Ohio. In 2010, the

Internal Revenue Service (“IRS”) began investigating Houston for potentially filing false tax returns

from tax year 2009. Houston had filed thirty-two returns on behalf of individuals living in South

Carolina. Defendant Houston says these clients were referred to him by Renay Baker, an accountant

living in Atlanta, Georgia, and that if there was any fraud it was because Baker duped him by giving

him fictitious documents.5/

        On March 31, 2011, federal officers executed a search warrant on Defendant Houston’s

office.6/ During this search, the officers seized a great number of documents, including tax returns

and supporting documentation. Houston says the fictitious documents sent to him by Renay Baker

were among the items seized. The government responds that it neither found nor seized such

documents. During the search, IRS Special Agent Dennis Nutt also printed a fax activity log from

Defendant Houston’s fax machine that showed Houston’s fax activity from February 19, 2010,

through May 9, 2010.7/

        Defendant Houston was not indicted until February 3, 2015, almost four years after the search

and just one day before the five-year statute of limitations would have run. Although the government

had been investigating Houston during those four years and had numerous interactions with him and

his counsel, Houston says he was blind-sided by the 2015 indictment. He says the government

intentionally delayed bringing these charges against him, and in doing so violated his due process

rights because the evidence he needs to adequately defend himself has been lost due to the delay.


        5/
          See Doc. 24 at 4–5.
        6/
         Defendant’s residence was also searched, but nothing that happened during that search is relevant to this
motion. Defendant was also interviewed by IRS special agent Joseph Ziegler before the search.
        7/
          See Doc. 24-2.

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        Defendant Houston raises two specific issues regarding lost or missing evidence. First,

Houston says that the government has “failed to retain” the fictitious seized documents sent by

Renay Baker, and that no other copies of these documents exist. Second, Houston says the

government should have printed a fax activity log going back to January 1, 2010, and he cannot now

obtain that activity log because he discarded the fax machine sometime between 2011 and 2015.

                                             II. Law and Analysis

        “[T]he Due Process Clause of the Fifth Amendment [requires] dismissal of the indictment

if . . . pre-indictment delay . . . caused substantial prejudice to the [defendant’s] rights to a fair trial

and . . . the delay was an intentional device to gain tactical advantage over the accused.”8/ A due

process violation may occur even though the statute of limitations has not yet run as long as the two

prongs of the test—actual prejudice and tactical intent—have been satisfied.9/

A. Tactical Intent

        Taking these prongs in reverse order, there is no evidence that the government intentionally

delayed indicting Defendant in order to gain a tactical advantage. A prosecutor is not obligated to

seek an indictment the moment he has obtained evidence sufficient to establish guilt.10/ “Rather than

deviating from elementary standards of ‘fair play and decency,’ a prosecutor abides by them if he

refuses to seek indictments until he is completely satisfied that he should prosecute and will be able

to promptly establish guilt beyond a reasonable doubt.”11/ “[W]here delay is due to simple

negligence and not a concerted effort by the government to gain an advantage, no due process



        8/
         United States v. Marion, 404 U.S. 307, 324 (1971).
        9/
         United States v. Vaughn, 444 F. App’x 875, 878 (6th Cir. 2011).
        10/
             United States v. Lovasco, 431 U.S. 783, 790–96 (1977).
        11/
             Id. at 795.
                                                        -3-
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violation exists.”12/ Even recklessness by the prosecution will not suffice—the delay must have been

an intentional, tactical maneuver.13/

         Defendant Houston has made only conclusory assertions, totally devoid of supporting

evidence, that the government’s delay in seeking an indictment was for the purpose of gaining a

tactical advantage. Instead, the evidence shows that the government was simply continuing its

investigation throughout the four years between the search and the indictment: IRS agents and

prosecutors were reviewing documents, interviewing witnesses and presenting them to the grand

jury, and following the internal procedures needed to file charges.14/ At most, it appears the

prosecution of the case may have been delayed by a few months due to personnel turnover in the

U.S. Attorney’s Office.15/ Defendant Houston has not even shown negligence by the government,

let alone intentional conduct that would violate his due process rights. The motion to dismiss

therefore loses.

B. Actual Prejudice

         Furthermore, showing actual prejudice under the first prong of the test is a “nearly

insurmountable” standard for a defendant to meet “because proof of actual prejudice is always

speculative.”16/ This prong requires showing that the defendant’s right to a fair trial has been




         12/
           United States v. Banks, 27 F. App’x 354, 357 (6th Cir. 2001) (citing United States v. Brown, 959 F.2d 63,
66 (6th Cir. 1992)).
         13/
           See United States v. Rogers, 118 F.3d 466, 476 (6th Cir. 1997).
         14/
            See Doc. 30 at 2–3; see also United States v. Baltimore, 482 F. App’x 977, 982 (6th Cir. 2012) (delay caused
by continued investigation, including locating witnesses and having them testify before a grand jury, did not violate due
process). The Court “may accept the government’s representations about the reason for delay” even without sworn
testimony supporting it. United States v. Thomas, 404 F. App’x 958, 961 (6th Cir. 2010).
         15/
            See Doc. 30 at 2–3.
         16/
           Rogers, 118 F.3d at 477 n.10.
                                                          -4-
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substantially prejudiced,17/ meaning “that the evidence lost would be both material and favorable

to the defense.”18/ Defendant Houston has not met this high burden here, and therefore loses on this

prong as well.

         Defendant Houston blames the government for losing documents Renay Baker sent to him,

including identifications for the thirty-two individuals and their signed consent for him to prepare

their taxes. At the hearing on this motion, both Houston and another witness, Donqualla Hale-

Peterson, testified that these documents existed.19/ Defendant Houston says that the government

seized these documents during the March 2011 search, and that Houston has no other copies.20/ The

government responds that it did not find these documents during its search and, accordingly, did not

seize them.21/ The government has also disclosed Renay Baker’s grand jury testimony where she

denied Houston’s allegations.22/

         Whether these documents actually existed, and if so what that means for Houston’s guilt or

innocence, are issues of fact and credibility that are appropriately resolved by a jury. At trial,

Houston would be able to offer testimony about what documents he received from Renay Baker and

what he did with them, just as he did at the motion hearing.23/ He would also be able to introduce


         17/
           Banks, 27 F. App’x at 357 (citing Brown, 959 F.2d at 66).
         18/
           Vaughn, 444 F. App’x at 879 (citing United States v. Valenzuela-Bernal, 458 U.S. 858, 873 (1982)).
         19/
           Hr’g Tr. at 8:10–9:22, 23:13–25:7.
         20/
            Defendant Houston says he had faxed copies of these documents to Santa Barbara Bank while trying to get
anticipatory refund checks, but that the Bank has not retained these copies and he has therefore been unable to recover
them. At the hearing, Houston offered records from the Bank indicating that they had received faxes from Houston
related to these tax returns, but the records did not reveal the substance of the faxes. See Hr’g Tr. at 38:19–40:3.
         21/
           Hr’g Tr. at 53:14–54:9.
         22/
           See Doc. 30-5.
         23/
            Cf, e.g., Rogers, 118 F.3d at 475 (“The death of a potential witness during the pre-indictment period may
demonstrate the requisite prejudice if the defendant can demonstrate that exculpatory evidence was lost and could not
be obtained through other means. However, a defendant does not show actual prejudice based on the death of a potential
witness if he has not given an indication of what the witness’s testimony would have been and whether the substance of
                                                                                                         (continued...)
                                                         -5-
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evidence that would explain to the jury why he does not have them. Thus, even if the documents did

exist, and were lost by the government, and would help Defendant Houston’s case24/—all points of

contention—the prejudice to Houston would not be substantial, as he can still adequately present his

theory of the case.

         Defendant Houston also blames the government for not printing a more complete fax activity

log covering a wider date range. But once again, Houston will be able to present other evidence of

his communications with Renay Baker, so any prejudice is slight. Furthermore, that Houston does

not have a more complete fax activity log is a result of his own failure to preserve evidence rather

than the government’s failure to create it. By March 2011, Houston was aware that he was the

subject of a government investigation. The inventory from the government’s search, which was

shown to Defendant Houston that day, specifies that the government seized a “Print out of Fax

Activity” that was found “On Fax Machine.”25/ Despite this, Houston made no attempt to preserve

potentially exculpatory evidence, either by generating a fax activity log for himself or by simply

preserving the fax machine.26/ Thus, the loss of this fax log is not a result of any delay in the

prosecution of this case,27/ and is attributable to Houston rather than the government.

                                                  III. Conclusion

         For the foregoing reasons, the Court DENIES Defendant Houston’s motion to dismiss the


         23/
           (...continued)
the testimony was otherwise available.” (citations omitted)).
         24/
            See United States v. Szilvagyi, 417 F. App’x 472, 479 (6th Cir. 2011) (finding no prejudice when there was
no proof that documents had been destroyed, and that even if they had they would not necessarily have been exculpatory).
         25/
           Doc. 24-1.
         26/
           Hr’g Tr. 25:15–26:16, 32:14–33:23.
         27/
           See United States v. Wright, 343 F.3d 849, 860 (6th Cir. 2003) (finding no prejudice when defendant
“presented no evidence that various records became unavailable to him because of the delay” (emphasis added)); United
States v. Montgomery, 491 F. App’x 683, 691 (6th Cir. 2012) (finding no prejudice when defendant could not explain
“how the delay in issuing the superseding indictment corresponded to [two witnesses’] inability to testify”).
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indictment.

       IT IS SO ORDERED.



Dated: April 22, 2015                        s/       James S. Gwin
                                             JAMES S. GWIN
                                             UNITED STATES DISTRICT JUDGE




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